           Case 1:18-cv-02290-TFH Document 1 Filed 10/02/18 Page 1 of 6




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



GABY FRASER,
5713 Eads Street NE
Washington, DC 20019
                                                 Civil Action No.
              Plaintiff;

      v.

CAPITAL ONE BANK (USA), N.A.
1680 Capital One Drive
Bank of America Center, 16th Floor
McLean, VA 22102-1111,
              Defendant.




                                            COMPLAINT

      GABY FRASER (Plaintiff), by her attorney, alleges the following against CAPITAL

ONE BANK (USA), N.A., (Defendant):

                                      I.      INTRODUCTION

   1. Plaintiff brings this action on behalf of herself individually seeking damages and any other

      available legal or equitable remedies resulting from the illegal actions of Defendant, in

      negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular

      telephone in violation of the Telephone Consumer Protection Act (hereinafter “TCPA”),

      47 U.S.C. § 227 et seq.

                                II.    JURISDICTION AND VENUE




                                               -1-
      Case 1:18-cv-02290-TFH Document 1 Filed 10/02/18 Page 2 of 6




2. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C. §227(b)(3). See,

   Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740 (2012), holding that federal and

   state courts have concurrent jurisdiction over private suits arising under the TCPA.

3. Venue is proper in the United States District Court for the District of Columbia pursuant

   to 28 U.S.C § 1391(b) because Plaintiff resides within this District and a substantial part

   of the events or omissions giving rise to the herein claims occurred, or a substantial part

   of property that is the subject of the action is situated within this District.

                                         III.         PARTIES

4. Plaintiff is a natural person residing in the District of Columbia county, in the city of

   Washington, DC.

5. Defendant is a corporation conducting business in the District of Columbia with its

   principal place of business located in McLean, Virginia.

6. At all times relevant to this Complaint, Defendant has acted through its agents employees,

   officers, members, directors, heir, successors, assigns, principals, trustees, sureties,

   subrogees, representatives and insurers.

                              IV.     FACTUAL ALLEGATIONS

7. Defendant placed collection calls to Plaintiff seeking and attempting to collect on alleged

   debts incurred through purchases made on credit issued by Defendant.

8. Defendant placed collection calls to Plaintiff’s cellular telephone at phone number (202)

   487-34XX.

9. Defendant placed collection calls to Plaintiff from phone numbers including, but not

   limited to (800) 955-6600.




                                                -2-
       Case 1:18-cv-02290-TFH Document 1 Filed 10/02/18 Page 3 of 6




10. Per its prior business practices, Defendant’s calls were placed with an automated telephone

   dialing system (“auto-dialer”).

11. Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. § 227(a)

   (1) to place its telephone calls to Plaintiff seeking to collect a consumer debt allegedly

   owed by Plaintiff, GABY FRASER.

12. Defendant’s calls constituted calls that were not for emergency purposes as defined by 47

   U.S.C. § 227(b)(1)(A).

13. Defendant never received Plaintiff’s “prior express consent” to receive calls using an

   automatic telephone dialing system or an artificial or prerecorded voice on his cellular

   telephone pursuant to 47 U.S.C. § 227(b)(1)(A).

14. On or about February 20, 2018, Plaintiff spoke with a customer service representative for

   Defendant at phone number (800) 955-6600. Plaintiff spoke with Defendant’s male

   representative (“Richard”) and requested that Defendant cease calling Plaintiff’s cellular

   phone.

15. During the conversation on February 20, 2018, Plaintiff gave Defendant both her phone

   number and social security number to assist Defendant in accessing her accounts before

   asking Defendant to stop calling her cell phone.

16. Plaintiff revoked any consent, explicit, implied, or otherwise, to call her cellular telephone

   and/or to receive Defendant’s calls using an automatic telephone dialing system in her

   conversation with Defendant’s representative on February 20, 2018.

17. Despite Plaintiff’s request to cease, Defendant placed another collection call to Plaintiff

   on February 25, 2018.

18. Defendant continued to place collection calls to Plaintiff through July 2018.



                                             -3-
       Case 1:18-cv-02290-TFH Document 1 Filed 10/02/18 Page 4 of 6




19. Despite Plaintiff’s request that Defendant cease placing automated collection calls,

   Defendant placed at least one hundred and thirty-five (135) automated calls to Plaintiff’s

   cell phone.

                          FIRST CLAIM FOR RELIEF
                       NEGLIGENT VIOLATIONS OF THE
                   TELEPHONE CONSUMER PROTECTION ACT
                                47 U.S.C. § 227

20. Plaintiff repeats, re-alleges and incorporates by reference into this cause of action the

   allegations set forth above at Paragraphs 1-19.

21. The foregoing acts and omissions of Defendant constitute numerous and multiple

   negligent violations of the TCPA, including but not limited to each and every one of the

   above cited provisions of 47 U.S.C. § 227 et seq.

22. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is

   entitled to an award of $500.00 in statutory damages, for each and every violation,

   pursuant to 47 U.S.C. §227(b)(3)(B).

23. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.


                      SECOND CLAIM FOR RELIEF
              KNOWING AND/OR WILLFUL VIOLATIONS OF THE
                TELEPHONE CONSUMER PROTECTION ACT
                         47 U.S.C. § 227 et. seq.

24. Plaintiff repeats, re-alleges and incorporates by reference into this cause of action the

   allegations set forth above at Paragraphs 1-19.

25. The foregoing acts and omissions of Defendant constitute numerous and multiple knowing

   and/or willful violations of the TCPA, including but not limited to each and every one of

   the above cited provisions of 47 U.S.C. § 227 et seq.



                                              -4-
          Case 1:18-cv-02290-TFH Document 1 Filed 10/02/18 Page 5 of 6




   26. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,

       Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every

       violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

   27. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.

       WHEREFORE, Plaintiff, GABY FRASER, respectfully requests judgment be entered

   against Defendant, CAPITAL ONE BANK (USA), N.A., for the following:

                                    FIRST CAUSE OF ACTION

   28. For statutory damages of $500.00 multiplied by the number of negligent violations of the

       TCPA alleged herein (135); $67,500.00;

   29. Actual damages and compensatory damages according to proof at time of trial;

                                  SECOND CAUSE OF ACTION

   30. For statutory damages of $1,500.00 multiplied by the number of knowing and/or willful

       violations of TCPA alleged herein (135); $202,500.00;

   31. Actual damages and compensatory damages according to proof at time of trial;

                                  ON ALL CAUSES OF ACTION

   32. Actual damages and compensatory damages according to proof at time of trial;

   33. Costs and reasonable attorneys’ fees; and

   34. Any other relief that this Honorable Court deems appropriate.


                                    JURY TRIAL DEMAND

   35. Plaintiff demands a jury trial on all issues so triable.


Dated: October 2, 2018                         RESPECTFULLY SUBMITTED,

                                               /s/ Anitra Ash-Shakoor_____________
                                               Anitra Ash-Shakoor (Bar No. 1008693)

                                                 -5-
Case 1:18-cv-02290-TFH Document 1 Filed 10/02/18 Page 6 of 6




                           Capital Justice
                           Franklin Square Center
                           1300 I Street, NW, Suite 400E
                           Washington, DC 20005
                           Telephone: 202-465-0888
                           Direct: 202-465-0463
                           Facsimile: 202-827-0089
                           Email:a.ashshakoor@capitaljustice.com

                           ATTORNEY FOR GABY FRASER




                            -6-
